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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10   TESSIBLE “SKYLER” FOSTER;                        Case No. 2:23-cv-07441-AB-PVC
     MARIE SCOTT; and KRISTA
11   BAUMBACH, individually and on                    ORDER GRANTING PLAINTIFFS’
     behalf of all others similarly situated,         UNOPPOSED MOTION FOR
12                                                    PRELIMINARY APPROVAL OF
                                   Plaintiffs,        SETTLEMENT
13
14              v.

15
     800-FLOWERS, INC.,
16
17                                 Defendants.
18
           Before the Court is Plaintiffs’ Motion for Preliminary Approval of Class Action
19
     Settlement pursuant to Federal Rule of Civil Procedure 23(e). (“Motion,” Dkt. No.
20
     55.) No opposition was filed. The Court held a hearing on September 27, 2024. For
21
     the following reasons, Plaintiff’s Motion is GRANTED.
22
           The Court HEREBY ORDERS:
23
        A. Provisional Approval and Certification of the Settlement Class and
24
     Appointment of Class Counsel and Class Representatives
25
           1.        Unless otherwise defined herein, all capitalized terms in this Order shall
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     have the meanings ascribed to them in the Settlement Agreement.
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           2.        The Court has conducted a preliminary assessment of the fairness,
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 1   reasonableness, and adequacy of the Settlement as set forth in the Settlement
 2   Agreement. Based on this preliminary evaluation, the Court preliminarily finds that the
 3   proposed Settlement of $1,200,00.00 is fair, reasonable and adequate to warrant
 4   providing notice to the Settlement Class. The Court therefore grants Preliminary
 5   Approval of the Settlement.
 6         3.      Pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of
 7   Civil Procedure and for purposes of the Settlement only, the Court hereby
 8   provisionally certifies this action as a class action on behalf of the following
 9   Settlement Class:
10                 All Persons who purchased Celebrations Passport in
                   California on or after September 7, 2019, through May
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                   31, 2022, and who incurred at least one automatic
12                 renewal charge for Celebrations Passport that was not fully
                   refunded.1
13
14          4.     Pursuant to Federal Rule of Civil Procedure 23, the Court hereby
15   finds that, for purposes of the Settlement, the Plaintiffs Tessible “Skyler” Foster,
16   Marie Scott, and Krista Baumbach are members of the Settlement Class and
17   that, for Settlement purposes only, they satisfy the requirement that they will
18   adequately represent the interests of the Settlement Class Members. The Court
19   hereby appoints Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista
20   Baumbach as class representatives of the Settlement Class, who may obtain
21   reasonable service awards of $2,500 each.
22          5.     Having considered the factors set forth in Federal Rule of Civil
23   Procedure 23(g)(1) and having reviewed the submissions of Plaintiffs’ counsel, the
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25
     1
       As set forth in the Settlement Agreement, specifically excluded from the
     Settlement Class are the following Persons: (a) 800-Flowers, Inc., the Released
26   Persons and their employees, officers, directors, agents, and representatives, and their
27   immediate family members; (b) Class Counsel; (c) The Court, the Court’s immediate
     family members, and Court staff; and (d) The mediator, Jill Sperber, Esq. of Judicate
28   West.
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 1   Court finds that the Plaintiffs’ counsel, Frank S. Hedin of Hedin LLP, will fairly
 2   and adequately represent the interests of the Settlement Class. Accordingly, the Court
 3   hereby appoints Frank S. Hedin of Hedin LLP as Class Counsel to represent the
 4   Settlement Class. The Court preliminarily approves Class Counsel’s abilities to
 5   request attorneys’ fees, costs and expenses, including an award of attorney’s fees up
 6   to $300,000 (25% of the Gross Settlement Amount), and reasonable costs up to
 7   $14,000.
 8      B. The Final Approval Hearing
 9         6.    Pursuant to Federal Rule of Civil Procedure Rule 23(e), the Court
10   will hold a Final Approval Hearing on January 31, 2025 at 1:30 p.m. to consider the
11   fairness, reasonableness and adequacy of the Settlement and whether it should be
12   finally approved by the Court, and to determine the reasonableness of Class
13   Counsel’s requested Attorneys’ Fee Award and the class representatives’
14   requested Service Awards.
15         7.     No later than January 17, 2024, which is fourteen (14) Days before
16   the Final Approval Hearing, the Parties must file any papers in support of Final
17   Approval of the Settlement and respond to any written objections.
18       C. Objecting to the Settlement
19
            8.    Any Settlement Class Member who intends to object to any aspect of
20
     the Settlement, including a request for Attorneys’ Fee Award to Class Counsel, or
21
     Service Awards to the class representatives, must do so on or before the Opt-Out and
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     Objection Date set forth below, in the manner and pursuant to the requirements set
23
     forth in the Settlement Agreement and the Class Notice.
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           9.     Any responses by the Parties to timely-filed objections shall be
25
     included in the Motion for Final Approval briefing.
26
         D. Requesting Exclusion from the Settlement Class
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           10.    Any member of the Settlement Class who wishes to exclude himself
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 1   or herself from the Settlement Class must submit an appropriate, timely request
 2   for exclusion, postmarked or submitted electronically no later than the Opt-Out
 3   and Objection Date in compliance with the provisions of the Settlement Agreement,
 4   or as the Court may otherwise direct, to the Settlement Administrator at the address
 5   on the Class Notice. Any Settlement Class Member who does not submit a timely,
 6   written request for exclusion from the Settlement Class (i.e., becomes an Opt-Out)
 7   will be bound by all proceedings, orders and judgments in the Litigation.
 8         11.    Any Settlement Class Member who does not become an Opt-Out and
 9   who wishes to object to the fairness, reasonableness or adequacy of the Settlement
10   or the requested Attorneys’ Fee Award or Service Awards must timely file with or
11   mail to the Court, by no later than the Opt-Out and Objection Date, an objection
12   which complies with the requirements set forth in Paragraph 116 of the Settlement
13   Agreement and as set forth in the Class Notice.
14      E. Settlement Class Notice Program
15         12.    Pursuant to the Settlement Agreement, Kroll Settlement
16   Administration, LLC (“Kroll”) is hereby appointed as Settlement Administrator and
17   shall be required to perform all the duties of the Settlement Administrator as set forth
18   in the Settlement Agreement and this Order, at a reasonable fee not to exceed
19   $89,400.
20         13.    The Court approves the Class Notices accompanying the
21   Settlement Agreement and directs the Settlement Administrator to disseminate the
22   Class Notice in accordance with the Settlement Class Notice Program.
23         14.    The Court finds that the Settlement Class Notice Program set forth in
24   the declaration of Andrea R. Dudinksy of Kroll: (i) is the best practicable notice;
25   (ii) is reasonably calculated, under the circumstances, to apprise the Settlement Class
26   of the pendency of the Action and of their right to object to or to exclude themselves
27   from the proposed Settlement; (iii) is reasonable and constitutes due, adequate and
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 1   sufficient notice to all Persons entitled to receive Class Notice; and (iv) meets all
 2   requirements of applicable law.
 3         15.    In addition to electronic means, the Settlement Administrator
 4   shall establish a post office box in its name to be used for receiving requests for
 5   exclusion and any other communications, and providing that only the Settlement
 6   Administrator, Class Counsel, Defense Counsel, the Court, the Clerk of the Court and
 7   their designated agents shall have access to this post office box, except as
 8   otherwise provided in the Settlement Agreement.
 9         16.    The Settlement Administrator is ordered to cause the Class Notice to be
10   disseminated to Settlement Class members on or before thirty (30) Days from the date
11   of this Order and shall constitute the “Notice Date” pursuant to the Settlement
12   Agreement and for purposes of this Order.
13          17. The Settlement Administrator shall provide the Opt-Out List to Class
14   Counsel and Defense Counsel no later than seven (7) Days after the Opt-Out and
15   Objection Date and shall then file with the Court the Opt-Out List with an affidavit
16   attesting to the completeness and accuracy thereof no later than seven (7) Days before
17   the Final Approval Hearing.
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           18.    The Settlement Administrator shall also file proof of compliance with the
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     Settlement Class Notice Program no later than seven (7) Days before the Final
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     Approval Hearing.
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22      F. Miscellaneous Provisions

23         19.    Settlement Class Members are preliminarily enjoined, unless and

24   until they have timely and properly excluded themselves from the Settlement

25   Class, from (i) filing, commencing, prosecuting, intervening in or participating

26   as plaintiff, claimant, or class member in any other lawsuit or

27   administrative, regulatory, arbitration, or other proceeding in any jurisdiction based

28   on, relating to, or arising out of the claims and causes of action or the facts and

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 1   circumstances giving rise to the Action and/or the Released Claims; (ii) filing,
 2   commencing, participating in, or prosecuting a lawsuit or administrative,
 3   regulatory, arbitration, or other proceeding as a class action on behalf of any
 4   Settlement Class Member who has not timely excluded themselves (including by
 5   seeking to amend a pending complaint to include class allegations or seeking
 6   class certification in a pending action), based on, relating to, or arising out of the
 7   claims and causes of action or the facts and circumstances giving rise to the Action
 8   and/or the Released Claims; and (iii) attempting to effect opt-outs of a class of
 9   individuals in any lawsuit or administrative, regulatory, arbitration, or other
10   proceeding based on, relating to, or arising out of the claims and causes of action or
11   the facts and circumstances giving rise to the Action and/or the Released Claims.
12   This is not intended to prevent members of the Settlement Class from participating in
13   any action or investigation initiated by a state or federal agency.
14         20.    Counsel is hereby authorized to use all reasonable procedures in
15   connection with approval and administration of the Settlement that are not
16   materially inconsistent with this Order or the Settlement Agreement, including
17   making, without further approval of the Court, insubstantial changes to the form or
18   content of the Class Notices and other exhibits that they jointly agree are
19   reasonable and necessary. The Court reserves the right to approve the Settlement
20   Agreement with such modifications, if any, as may be agreed to by the Parties without
21   further notice to the Settlement Class Members.
22         21.    Accordingly, the following are the deadlines by which certain events
23   must occur:
24         Deadline to Mail Notice                                   October 23, 2024

25          Deadline to File Fee Motion                              December 2, 2024
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            Deadline for Opt-Outs and Objections                     December 23, 2024
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 1         Deadline to Provide Opt-Out List to Counsel      December 30, 2024
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           Deadline for Parties and Settlement              January 24, 2025
 3         Administrator to file the following: (1) Opt-Out
 4         List; (2) Proof of CAFA Notice and Class
           Notice; (3) Motion for Final Approval, including
 5         responses to any Objections
 6         Final Approval and Fairness Hearing              January 31, 2025
 7
 8         IT IS SO ORDERED.
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10   Dated: October 3, 2024           _______________________________________
                                      HONORABLE ANDRÉ BIROTTE JR.
11
                                      UNITED STATES DISTRICT COURT JUDGE
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